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                                                                                      SARAH K. DELAHANT+            * Certified by the Supreme Court of

                                                  December 21, 2018                   EDWARD D. DEMBLING>
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     Clerk, United States District Court                                              SCOTT KETTERER>               >Member of NJ, PA & DC Bar
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     Clarkson S. Fisher Fed. Bldg.                                                                                  Please reply to New Jersey
     402 East State Street
     Trenton, NJ 08608

     RE:     SADDY, JOHN VS. BOROUGH OF SEASIDE HEIGHTS, ET AL.
             Our File No.  : 86976 ELH
             Docket No.    : 3:18-CV-16137

     Dear Sir/Madam:

     Enclosed please find the following documents:

        Answer on behalf of Christopher Vaz.

                                                       Respectfully submitted,

                                                       METHFESSEL & WERBEL, ESQS.




                                                       Eric L. Harrison
                                                       harrison@methwerb.com
                                                       Ext. 138
     ELH:as/Encl.




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  Methfessel & Werbel, Esqs.
  Our File No. 86976 ELH
  Page 2


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  Our File No. 86976 ELH

  JOHN P. SADDY                        UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
              Plaintiff,
                                       CIVIL ACTION NO.: 3:18-CV-16137
  V.

  BOROUGH OF SEASIDE HEIGHTS;                      Civil Action
  CHRISTOPHER VAZ, SEASIDE
  HEIGHTS BOROUGH
  ADMINISTRATOR; ANTHONY E. VAZ,                      ANSWER
  SEASIDE HEIGHTS MAYOR;
  RICHARD TOMPKINS, MICHAEL
  CARBONE; LOUIS DIGULIO; ANGES
  POLHEMUS; HARRY SMITH;
  VICTORIA GRAICHEN, SEASIDE
  HEIGHTS COUNCIL MEMBERS;
  KENNETH ROBERTS, ZONING
  OFFICER; CHARLES LASKEY,
  BUILDING INSPECTOR; THOMAS
  BOYD, CHIEF OF POLICE; SERGEANT
  LUIGI VIOLANTE, A SEASIDE
  HEIGHTS POLICE OFFICER; JOHN
  DOES 1-10, SEASIDE HEIGHTS
  POLICE OFFICERS; AND JOHN DOES
  11-20, SEASIDE HEIGHTS COUNCIL
  MEMBERS; MUNICIPAL EMPLOYEES;
  OFFICIALS; AND/OR APPOINTEES

              Defendants.


        Defendant      Christopher   Vaz,   Seaside    Heights    Borough

  Administrator, by way of Answer to the Complaint filed no November 14,

  2018, responds as follows:
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                               JURISDICTION

        1.    Admitted insofar as the Complaint articulates such claims

  and that jurisdiction is established in United States District Court;

  otherwise denied.

                                      PARTIES

        2.    Denied.    The properties and licenses in question are not

  owned by the plaintiff but are owned by the Saddy Family, LLC, Karma

  Enterprises, LLC, SJV, Inc., and/or LASV, Inc.; otherwise denied.

        3.    Admitted insofar as defendant Violante is a Seaside Heights

  Police Officer; otherwise denied.

        4.    Admitted insofar as defendant Anthony E. Vaz has served as

  Mayor of the Borough of Seaside Heights commencing in 2015; otherwise

  denied.

        5.    Admitted insofar as defendant Thomas Boyd has served as

  Chief of Police of the Borough of Seaside Heights; otherwise denied.

        6.    Admitted insofar as this defendant currently serves as

  Borough Administrator; otherwise denied.

        7.    Admitted insofar as the identified individuals presently serve

  as Seaside Heights Borough Council members; otherwise denied.

        8.    Admitted insofar as defendant Kenneth Roberts has served

  as Zoning Officer for the Borough of Seaside Heights; otherwise denied.

        9.    Admitted insofar as defendant Charles Laskey has served as

  Building Inspector for the Borough of Seaside Heights; otherwise denied.
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         10.   Admitted insofar as the Borough of Seaside Heights is a

  municipality within the State of New Jersey; otherwise denied.

                               FACTUAL ALLEGATIONS

         11.   Denied.

         12.   Denied.

         13.   Denied.

         14.   Denied.

         15.   Admitted insofar as the plaintiff has been involved in

  businesses which have operated bars, restaurants and nightclubs in

  Seaside Heights; denied to the extent that this paragraph suggests that

  the plaintiff has owned any of them; otherwise denied.

         16.   Admitted insofar as this defendant believes that “Club

  Karma” and “Luna Rosa” opened in approximately 2002; otherwise

  denied.

         17.   Admitted insofar as a site plan was approved for a

  restaurant to operate annexed to the Club Karma property upon its

  opening; otherwise denied.

         18.   Denied insofar as none of these properties was owned by the

  plaintiff.

         19.   Denied.

         20.   Denied.

         21.   Denied.

         22.   Denied.
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        23.   Denied.

        24.   Denied.

        25.   Neither admitted nor denied; unknown to this defendant.

        26.   Denied.

        27.   Neither admitted nor denied; unknown to this defendant.

        28.   Admitted insofar as an election was held in 1992; otherwise

  neither admitted nor denied; unknown to this defendant.

        29.   Admitted insofar as an ordinance required additional police

  protection, although it was not directed towards the plaintiff individually.

  Nor was the plaintiff “forced to reimburse the borough,” as the plaintiff

  himself did not own any nightclubs.      The nightclubs in question were

  owned by the Saddy Family, LLC, Karma Enterprises, LLC, SJV, Inc.,

  and/or LASV, Inc.; otherwise denied.

        30.   Denied.

        31.   Denied.

        32.   Denied.

        33.   Denied.

        34.   Denied.

        35.   Denied.

        36.   Denied.

        37.   Neither admitted nor denied; unknown to this defendant.

        38.   Denied.

        39.   Denied.
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        40.   Denied.

        41.   Denied.

        42.   Denied.

        43.   Denied.

        44.   Denied.

        45.   Admitted.

        46.   Admitted insofar as the plaintiff has met with Mr. Vaz during

  his tenure as the Borough Administrator, though Mr. Vaz has no

  recollection of the meeting described in this paragraph; otherwise denied.

        47.   Denied.

        48.   Admitted insofar that in early May 2018 Mr. Saddy

  introduced Mr. Vaz to a man whom he described as a “promoter.” Mr.

  Vaz explained the process for planning events on the beach and/or

  boardwalk. Otherwise denied.

        49.   Denied.

        50.   Denied.

        51.   Admitted insofar as Mr. Vaz spoke positively of events

  catering to the LGBTQ community and how such events had benefitted

  Asbury Park, which Seaside Heights hoped to emulate; otherwise denied.

        52.   Denied. While Mr. Vaz may have expressed to others that he

  believed that Mr. Saddy was attempting to set him up for litigation, he

  made no such comment to Mr. Saddy. Otherwise denied.

        53.   Denied; Mr. Vaz never made such a statement.
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           54.   Neither admitted nor denied; unknown to this defendant.

           55.   Admitted insofar as Mr. Saddy made numerous calls to

  Borough Hall and stopped by in an effort to speak with Mr. Vaz. Further

  admitted that Mr. Vaz was not inclined to meet with Mr. Saddy.

  Otherwise denied.

           56.   Admitted insofar as the Borough filed a Complaint and Order

  to Show Cause seeking an injunction against the owners of Club Karma

  on May 22, 2018. As Mr. Saddy is not an owner of Club Karma he was

  not named as a defendant in that litigation. Otherwise denied.

           57.   Upon information and belief, admitted.

           58.   Neither admitted nor denied; unknown to this defendant.

           59.   Admitted insofar as summonses were issued; otherwise

  denied.

           60.   Neither admitted nor denied; unknown to this defendant.

           61.   Neither admitted nor denied; unknown to this defendant.

           62.   Neither admitted nor denied; unknown to this defendant.

           63.   Neither admitted nor denied; unknown to this defendant.

           64.   Neither admitted nor denied; unknown to this defendant.

           65.   Denied; “Hyperglow” was never run by the Borough in prior

  years.     Rather, in 2014 another private event – Electric Adventure -

  occurred on the beach and was approved by the Council but not

  operated by the Borough; otherwise denied.
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        66.   Admitted insofar as Seaside Heights Police visited the

  premises on the night in question for legitimate reasons; otherwise

  denied.

        67.   Denied.

        68.   Neither admitted nor denied; unknown to this defendant.

        69.   Admitted insofar as there were a number of EMS calls for

  intoxicated, overdosed and injured patrons; otherwise denied.

        70.   Neither admitted nor denied; unknown to this defendant as

  to what the plaintiff actually witnessed or learned from his staff.

        71.   Denied; prior to Hyperglow the Borough, through its

  attorney, sent a cease and desist letter directing Club Karma’s owners to

  ensure that it is used in a manner consistent with its site plan approval.

  Additionally, after Hyperglow event the Borough filed a complaint with

  the Alcohol Beverage Commission and determined not to renew Club

  Karma’s liquor license. Club Karma’s owner, SJV, Inc., appealed this

  determination and the club remained open through the summer;

  otherwise denied.

        72.   Denied.

        73.   Admitted insofar as Mr. Vaz accurately reported what was

  reported to him about what had occurred that evening; otherwise denied.

        74.   Admitted insofar as the Borough proposed revocation of the

  mercantile license locally; not with the Department of Law and Public
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   Safety. Further admitted insofar as the Borough filed the aforementioned

   complaint with the Alcohol Beverage Commission. Otherwise denied.

         75.    First sentence denied; second sentence admitted.       Third

   sentences neither admitted nor denied; unknown to this defendant.

         76.    First sentence admitted; second sentence denied.

         77.    Denied; the ordinance applied to all businesses in town.

         78.    Denied.

         79.    Denied.


                                 CAUSES OF ACTION

               COUNT I (“MONELL LIABILITY, BOROUGH of SEASIDE

                                  HEIGHTS”)

         80.    See above responses.

         81.    Denied as to this defendant.

         82.    Denied as to this defendant.

         83.    Denied.

         84.    Denied.

                          COUNT II (SUPERVISORY LIABILITY)

         85.    See above responses.

         86.    Denied as to this defendant.

         87.    Denied.

         88.    Denied.

         89.    Denied.

         90.    Denied.
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                  COUNT III (FIRST AMENDMENT – RETALIATION)

         91.    See above responses.

         92.    Denied.

         93.    Denied.

         94.    Denied.

         95.    Denied.

                                       COUNT IV

         96.    See above responses.

         97.    Admitted.

         98.    Denied.

         99.    Denied.

               COUNT V (FIFTH AMENDMENT – REGULATORY TAKING)

         100. See above responses.

         101. Denied.

         102. Denied.

         103. Denied.

         104. Denied.

                COUNT VI (CONSPIRACY TO VIOLATE CIVIL RIGHTS)

         105. See above responses.

         106. Denied.

         107. Denied.

         108. Denied.

         109. Denied.
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         110. Denied.

         COUNT VII (CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS)

         111. See above responses.

         112. Denied.

         113. Denied.

         114. Denied.

         115. Denied.



                COUNT VIII (ACTION FOR NEGLECT TO PREVENT)

         116. See above responses.

         117. Denied.

         118. Denied.

            COUNTY IX (NEW JERSEY STATE CONSTITUTION & NEW

                        JERSEY CIVIL RIGHTS ACT)

         119. See above responses.

         120. Admitted.

         121. Denied.

         122. Denied.

         WHEREFORE defendant Christopher Vaz demands judgment in

   his favor dismissing with prejudice all claims against him and an award

   of fees, costs and such other relief as the Court may deem just and

   equitable.
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                         FIRST SEPARATE DEFENSE

         The Complaint fails to state a claim upon which relief may be

   granted.

                         SECOND SEPARATE DEFENSE

         Defendant was not guilty of any negligence, wrongdoing, breach of

   duty, or misconduct that was the proximate or producing cause of any

   injuries or damages alleged by plaintiff.

                         THIRD SEPARATE DEFENSE

         Any    claims   against   answering   defendant   are   barred   by

   contributory negligence or should be mitigated by comparative negligence

   pursuant to N.J.S.A. 2A:15-5.1, et seq.

                         FOURTH SEPARATE DEFENSE

         Any and all injuries and damages were proximately caused by

   actions or negligence of plaintiff or by persons not under the control of

   this defendant.

                         FIFTH SEPARATE DEFENSE

         The court lacks subject matter jurisdiction over plaintiff’s claims,

   as the businesses and licenses associated with them are owned by the

   Saddy Family, LLC, Karma Enterprises, LLC, and/or SJV, Inc.

                         SIXTH SEPARATE DEFENSE

         Any injuries and damages were caused by and arose out of risks of

   which plaintiff had full knowledge and which plaintiff assumed.
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                        SEVENTH SEPARATE DEFENSE

         Any and all injuries and damages were caused solely by the

   negligence of the plaintiff.

                         EIGHTH SEPARATE DEFENSE

         Any and all injuries and damages were caused solely by the

   intentional behavior of the plaintiff.

                          NINTH SEPARATE DEFENSE

         Defendant owed no legal duty to the plaintiff.

                          TENTH SEPARATE DEFENSE

         Defendant breached no duty owed to the plaintiff.

                        ELEVENTH SEPARATE DEFENSE

         Defendant performed each and every duty, if any, owed to plaintiff.

                        TWELFTH SEPARATE DEFENSE

         Plaintiff has not been deprived of any right, privilege, or immunity

   created or recognized by the United States Constitution, the New Jersey

   Constitution, any statute, or any law.

                      THIRTEENTH SEPARATE DEFENSE

         Defendants affirmatively and specifically plead each and every

   defense, limitation, and immunity, and protection provided under the

   New Jersey Tort Claims Act, N.J.S.A. 59:1-1, et seq., and hereby place

   plaintiff on notice that each such statutory provision is hereby raised as

   a separate and affirmative defense throughout every stage of the case.
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                      FOURTEENTH SEPARATE DEFENSE

         Defendant is immune from liability for any damages for pain and

   suffering under N.J.S.A. 59:9-2.

                       FIFTEENTH SEPARATE DEFENSE

         Defendant is entitled to a credit for any benefits paid to plaintiff

   under N.J.S.A. 59:9-2.

                       SIXTEENTH SEPARATE DEFENSE

         Any actions or failure to act on the part of defendant were in the

   nature of the discretionary activity within meaning of N.J.S.A. 59:2-3.

                      SEVENTEENTH SEPARATE DEFENSE

         Defendant is entitled to the good faith immunity established by

   N.J.S.A. 59:3-3.

                      EIGHTEENTH SEPARATE DEFENSE

         Plaintiff failed to comply with the conditions precedent for making

   any claim against defendant by not filing the claim in the manner and

   within the time provided by N.J.S.A. 59:8-3, 59:8-4, 59:8-5, 59:8-7, and

   59:8-8.

                      NINETEENTH SEPARATE DEFENSE

         The plaintiff(s) failed to file a timely notice of claim as required by

   N.J.S.A. 59:8-8, et. seq.

                       TWENTIETH SEPARATE DEFENSE

             Defendant is entitled to immunity under N.J.S.A. 59:2-2.
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                      TWENTY-FIRST SEPARATE DEFENSE

          Defendant is entitled to immunity under N.J.S.A. 59:2-10.

                     TWENTY-SECOND SEPARATE DEFENSE

          Defendant is immune from any prejudgment interest under the

   New Jersey Tort Claims Act, N.J.S.A. 59:1-1, et seq.

                      TWENTY-THIRD SEPARATE DEFENSE

          While denying any liability, any recovery to which plaintiff might

   otherwise be entitled to subject to the provisions and limitations provided

   in the New Jersey Tort Claims Act.



                     TWENTY-FOURTH SEPARATE DEFENSE

          Defendant neither took nor sanctioned any of the actions alleged

   by plaintiff.

                      TWENTY-FIFTH SEPARATE DEFENSE

          Neither this defendant nor any of its agents had any personal

   participation in the alleged occurrence.

                      TWENTY-SIXTH SEPARATE DEFENSE

          Defendant acted upon probable cause and in good faith in carrying

   out all duties.

                     TWENTY-SEVENTH SEPARATE DEFENSE

          Any action or inaction on the part of defendant was the result of

   the exercise of judgment or discretion vested in defendant within the

   meaning of the applicable law.
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                     TWENTY-EIGHTH SEPARATE DEFENSE

         Defendant acted in good faith without malicious intent in carrying

   out all duties.

                     TWENTY-NINTH SEPARATE DEFENSE

         Defendant at all times acted reasonably, in good faith, and in

   accordance with all applicable laws of the United States, State of New

   Jersey, and local ordinances.



                       THIRTIETH SEPARATE DEFENSE

         While denying any liability, co-defendants were not acting as

   agents of this defendant at the times they committed the alleged acts in

   the Complaint.

                      THIRTY-FIRST SEPARATE DEFENSE

         While denying any liability, this defendant did not know and had

   no reasonable basis to know that co-defendants had the propensity to

   engage in the acts alleged in the Complaint.

                     THIRTY-SECOND SEPARATE DEFENSE

         All of the acts of defendant were performed in good faith and

   defendant is therefore entitled to qualified immunity.

                     THIRTY-THIRD SEPARATE DEFENSE

         Defendant is entitled to absolute immunity.
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                    THIRTY-FOURTH SEPARATE DEFENSE

         To the extent alleged, if any, defendant did not engage in a

   conspiracy against plaintiff and did not have a custom, plan or practice

   that violated plaintiff’s rights.

                      THIRTY-FIFTH SEPARATE DEFENSE

         Punitive damages cannot be awarded against defendant under

   both common law and statute.

                      THIRTY-SIXTH SEPARATE DEFENSE

         There is no basis in law or fact for the award of damages under the

   tort of emotional distress.

                    THIRTY-SEVENTH SEPARATE DEFENSE

         Plaintiff is not entitled to an award of economic damages against

   defendant.

                     THIRTY-EIGHTH SEPARATE DEFENSE

         Plaintiff is not entitled to an award of interest against defendant.

                      THIRTY-NINTH SEPARATE DEFENSE

         Plaintiff is not entitled to an award of counsel fees against

   defendant.

                        FORTIETH SEPARATE DEFENSE

         Defendant did not violate any duty owed to plaintiff under common

   law, statute, regulations, or standards.
Case 3:18-cv-16137-FLW-LHG Document 6 Filed 12/21/18 Page 19 of 22 PageID: 70



                     FORTY-FIRST SEPARATE DEFENSE

         Any alleged damages were due to unavoidable circumstances and

   causes beyond the control or fault of defendant.

                    FORTY-SECOND SEPARATE DEFENSE

         Defendant was acting pursuant to law in performing any of the

   acts alleged in the Complaint.

                     FORTY-THIRD SEPARATE DEFENSE

         Service of process not effectuated upon defendant, and defendant

   reserves the right to move to dismiss for insufficiency of process and

   insufficiency of service of process.

                    FORTY-FOURTH SEPARATE DEFENSE

         Plaintiff’s claims are barred by the entire controversy doctrine.

                     FORTY-FIFTH SEPARATE DEFENSE

         This court lacks jurisdiction over one or more of plaintiff’s claims.

                     FORTY-SIXTH SEPARATE DEFENSE

         Plaintiff’s Complaint is barred by the applicable statute of

   limitations.

                   FORTY-SEVENTH SEPARATE DEFENSE

         Plaintiff’s claims are barred by the doctrines of estoppel, laches,

   waiver, and/or unclean hands.

                    FORTY-EIGHTH SEPARATE DEFENSE

         Plaintiff failed to take reasonable and necessary measures to

   mitigate damages.
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                     FORTY-NINTH SEPARATE DEFENSE

         To the extent not inconsistent with anything pleaded herein, this

   defendant joins in the affirmative defenses asserted by the co-

   defendants.

                       FIFTIETH SEPARATE DEFENSE

         Defendant reserves its right to assert such other affirmative

   defenses as continuing investigation and discovery may indicate.

                      FIFTY-FIRST SEPARATE DEFENSE

         Defendant had legitimate, nondiscriminatory reasons for all acts

   and omissions of which plaintiff complains.

                    FIFTY-SECOND SEPARATE DEFENSE

         Plaintiff has failed to exhaust all available administrative remedies.

                     FIFTY-THIRD SEPARATE DEFENSE

         Defendant exercised reasonable care to prevent and promptly

   correct any harassing behavior and plaintiff unreasonably failed to take

   advantage of any preventative or corrective opportunities provided by

   defendant or to avoid harm otherwise.

                    FIFTY-FOURTH SEPARATE DEFENSE

   Plaintiff lacks standing to bring the underlying action as plaintiff is not a

   real party in interest pursuant to F.R.C.P. 17 , but rather the businesses

   and licenses associated with the plaintiff’s claims are owned by the

   Saddy Family, LLC, Karma Enterprises, LLC, and/or SJV, Inc.
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                       ANSWER TO ALL CROSSCLAIMS

         Defendant Christopher Vaz, by way of answer to any and all

   crossclaims which have been or will be interposed, denies each and every

   allegation of said crossclaims.

                           DEMAND FOR DAMAGES

         Attorneys for plaintiff are hereby required and requested to furnish

   the undersigned within five (5) days with a written statement of the

   amount of damages claimed in this action.

                                JURY DEMAND

         The defendant hereby demands trial by a jury as to all issues.


                                       METHFESSEL & WERBEL, ESQS.
                                       Attorneys for Christopher Vaz




                                       By:________________________________
                                             Eric L. Harrison
   DATED: December 21, 2018
Case 3:18-cv-16137-FLW-LHG Document 6 Filed 12/21/18 Page 22 of 22 PageID: 73




   Our File No. 86976

                         CERTIFICATE OF MAILING

   The undersigned hereby certifies as follows:

         l.    I am employed by the law firm of Methfessel & Werbel.

         2.    On December 21, 2018 the undersigned prepared and
   forwarded copies of the within Answer to the following parties:

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              Trenton, NJ 08608

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          3. I certify that the foregoing statements made by me are true. I
   am aware that if any of the foregoing statements made by me are willfully
   false, I am subject to punishment.


                                        Morgan Downs
                                        ____________________________________
                                        Morgan Downs
